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   9
                           UNITED STATES DISTRICT COURT
 10
                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12
       NICOLAS R. MARKS, and              Case No. 2:19-cv-10942-PA-JEM
 13    LORRI A. BOWLING, as
       individuals and on behalf of all   DEFENDANT TRADER JOE’S
 14    participants in the Trader Joe’s   COMPANY’S REPLY IN SUPPORT
       Company Retirement Plan,           OF MOTION TO DISMISS
 15
                          Plaintiffs,     Hearing Date:       April 27, 2020
 16
                                          Hearing Time:       1:30pm
 17          v.                           Judge:              Hon. Percy Anderson
       TRADER JOE’S COMPANY,              Courtroom:          9A
 18
 19                       Defendant.      Complaint Filed:    December 30, 2019
                                          Complaint Served:   January 30, 2020
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   1   I.    INTRODUCTION
   2         Plaintiffs insist that their Complaint contains “detailed facts” supporting their
   3   claim that the Trader Joe’s Company Retirement Plan (“the Plan”) paid unreasonable
   4   recordkeeping fees to its recordkeeper, Capital Research & Management Co.
   5   (“Capital Research”), but the opposite is true. Beyond boilerplate allegations about
   6   ERISA’s fiduciary obligations and vague references to allegedly excessive fees, the
   7   only concrete allegations pertaining to Capital Research’s recordkeeping fees are
   8   contained in paragraphs 22, 23, and 39 of the Complaint. In paragraph 22, Plaintiffs
   9   allege that Capital Research received $183,075 in direct compensation for its
 10    recordkeeping services in 2018. In paragraph 23, they concede that they do not know
 11    “the precise amount of fees and/or income Capital Research collects from the Plan.”
 12    Notwithstanding that concession, they speculate in paragraph 39 that the Plan paid
 13    “roughly $140 per participant” per year to Capital Research over the relevant period.
 14          The question presented in this motion is whether those allegations suffice to
 15    state a viable claim for fiduciary breach. They unquestionably do not. Plaintiffs
 16    cannot simply pluck a “rough” estimate out of the air without any support, label it an
 17    imprudent fee, and hope to get past the pleading stage. To conclude otherwise would
 18    render federal pleading standards meaningless and would subject every retirement
 19    plan in the country to burdensome litigation based on nothing more than a plaintiff
 20    lawyer’s say-so. Plaintiffs’ Complaint must accordingly be dismissed.
 21          To avoid this result, Plaintiffs attempt to manufacture material issues based on
 22    facts that are nowhere contained in their Complaint, but they are bound by their
 23    pleading. They suggest that Trader Joe’s may have paid Capital Research more than
 24    what was memorialized in the operative recordkeeping agreement, for example, or
 25    that fees paid to “Financial Professionals” under the agreement may be sources of
 26    additional recordkeeping fees for Capital Research. Neither of those suggestions is
 27    true, but that is beside the point. The issue is whether Plaintiffs have offered anything
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   1   beyond speculation to support their allegation that the Plan’s annual, per-participant
   2   recordkeeping fees were $140 over the relevant period. They have not. Their claim
   3   that the Plan paid excessive fees to Capital Research in violation of ERISA’s duty of
   4   prudence thus cannot proceed. Nor can their derivative claim for failure to monitor.
   5   II.   ARGUMENT
   6
             A.     Plaintiffs Have Failed to Allege Facts Sufficient to Support Their
   7                Imprudence Claim
   8         Plaintiffs’ imprudence claim rests on the single, conclusory premise that the
   9   Plan allegedly paid Capital Research excessive fees for recordkeeping services. If
 10    the Court concludes that Plaintiffs have failed to allege facts sufficient to support that
 11    contention, their imprudence claim must fail. 1 Nowhere in the opposition do
 12    Plaintiffs disagree with that fact.
 13                 1.     Plaintiffs’ Allegation That the Per-Participant
                           Recordkeeping Fee Was “Roughly” $140 Is a Pure Guess
 14                        That Cannot Sustain Their Imprudence Claim
 15          Without citing any case law, Plaintiffs argue that alleging an unsupported
 16    amount of recordkeeping fees is sufficient to survive a motion to dismiss. Pls.’ Opp.
 17    to Mot. to Dismiss (“Opp’n”) at 12, Docket No. 21. That is incorrect. A mere guess
 18    or estimate of recordkeeping fees does not suffice to state a claim, as the United States
 19    District Court for the Northern District of California held in White v. Chevron. See
 20    2017 WL 2352137, at *15–18 (N.D. Cal. May 31, 2017) (“Chevron II”), aff’d, 752
 21    F. App’x 453 (9th Cir. 2018) (holding that plaintiffs failed to state a claim for
 22    imprudence pertaining to allegedly unreasonable recordkeeping fees where they
 23    “offer[ed] a ‘guess’ as to the per-participant dollar amount for the Plan’s
 24    recordkeeping arrangement”). Plaintiffs ignore this case in their opposition, and they
 25    also fail to acknowledge their concession that they do not know the amount of Capital
 26    1
         The imprudence claim hinges entirely on the presence of an unreasonable
 27    recordkeeping fee. The label for the first claim for relief is: “Breach of the Duty of
 28    Prudence // Unreasonable Recordkeeping Fees.” Compl. at p. 14.
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   1   Research’s compensation for recordkeeping services. See Compl. ¶ 23. Further,
   2   despite filing a 77-paragraph complaint and a 25-page opposition, Plaintiffs provide
   3   no information whatsoever on how they came to their $140 per-participant figure.
   4   Plaintiffs complain that they are “not required to include what is tantamount to a
   5   comprehensive expert report calculating damages in a pleading,” Opp’n at 12, but no
   6   one is suggesting that expert analysis is required at this stage. Something beyond a
   7   pure guess is necessary to state a viable claim, however. The Court is not “required
   8   to accept as true allegations that are merely conclusory, unwarranted deductions of
   9   fact, or unreasonable inferences.” Sprewell v. Golden State Warriors, 266 F.3d 979,
 10    988 (9th Cir. 2001), opinion amended on denial of reh’g, 275 F.3d 1187 (9th Cir.
 11    2001). Given the conclusory nature of Plaintiffs’ allegations regarding Capital
 12    Research’s recordkeeping fees, the Court must dismiss Plaintiffs’ imprudence claim.
 13    Chevron II, 2017 WL 2352137, at *17–18; Ashcroft v. Iqbal, 556 U.S. 662, 678
 14    (2009).
 15
                    2.    Judicially Noticeable Documents Refute Plaintiffs’ $140 Per-
 16                       Participant Fee Allegation
 17          Assuming for the sake of argument that the Court were to find the $140 per-
 18    participant fee allegation in paragraph 39 to be more than conclusory guesswork, it
 19    still should not credit the allegation, as it is contradicted by the plain terms of the
 20    Plan’s recordkeeping agreement and Form 5500s, which Plaintiffs agree are subject
 21    to judicial notice. See Opp’n at 3 n.1 (Plaintiffs “do not object to the Court
 22    considering these documents”).
 23          Normally, a court must accept allegations in the complaint as true. It “need
 24    not, however, accept as true allegations that contradict matters properly subject to
 25    judicial notice or by exhibit.” Sprewell, 266 F.3d at 988. Here, the judicially
 26    noticeable recordkeeping agreement and Form 5500s demonstrate that Plaintiffs’
 27    “rough” estimate of a $140 per-participant recordkeeping fee has no foundation. As
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   1   explained in Trader Joe’s motion, under the recordkeeping agreement, Capital
   2   Research is entitled to “Standard Ongoing Fees” of $11,650 plus $48 per participant
   3   for its recordkeeping services. Mem. P. & A. in Supp. of Mot. to Dismiss (“Mot.”)
   4   at 7–8, Docket No. 17; Declaration of Catalina Vergara in Supp. of Def.’s Mot. to
   5   Dismiss (“Vergara Decl.”) Ex. 1 at 14, Docket No. 17-2. Those fees can easily be
   6   reduced to a per-participant amount by reference to the total number of participants
   7   listed in the Plan’s Form 5500s. See Mot. at 7–8. Calculating the recordkeeping fee
   8   in that manner reveals a per-participant fee of $48.25 to $48.35 over the relevant
   9   period, a far cry from Plaintiffs’ $140 figure. Id. For this additional reason, the Court
 10    need not accept Plaintiffs’ $140 allegation as true for purposes of evaluating the
 11    sufficiency of their Complaint. Sprewell, 266 F.3d at 988.
 12
                    3.     Plaintiffs’ Confusion Regarding the Plain Terms of the
 13                        Recordkeeping Agreement Do Nothing to Change the Fact
                           That Their “Rough” $140 Per-Participant Fee Allegation
 14                        Lacks Support
 15          To paper over their failure to offer any credible factual allegations regarding
 16    the actual amount of Capital Research’s allegedly excessive recordkeeping fees,
 17    Plaintiffs now speculate for the first time that Trader Joe’s might have breached the
 18    terms of the recordkeeping agreement and paid Capital Research more than what was
 19    required under the contract. Opp’n at 4. They offer nothing in the Complaint or
 20    otherwise to support that absurd theory. Plaintiffs also attempt to read into the
 21    recordkeeping agreement various sources of additional fees—but none of these
 22    arguments is grounded in Plaintiffs’ Complaint, and none of them does anything to
 23    take their alleged $140 per-participant fee out of the realm of guesswork. See
 24    Schneider v. California Dep’t of Corr., 151 F.3d 1194, 1197 n.1 (9th Cir. 1998)
 25    (holding that “[i]n determining the propriety of a Rule 12(b)(6) dismissal, a court
 26    may not look beyond the complaint to a plaintiff’s moving papers, such as a
 27    memorandum in opposition to a defendant’s motion to dismiss”). Although the Court
 28
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   1   should not entertain allegations made for the first time in an opposition brief,
   2   Plaintiffs’ theories fail for the additional reasons stated below.
   3         First, Plaintiffs argue that “there are lots of other ways Capital Research
   4   collects money from Plan participants,” including through the “Ancillary Fees”
   5   described in the recordkeeping agreement. Opp’n at 3, 7. Plaintiffs do nothing to
   6   explain how these “Ancillary Fees”—many of which are for individual participant
   7   services like loan fees and overnight checks, others of which are for discrete Plan-
   8   related services like Plan amendments and IRS filings, Vergara Decl. Ex. 1 at 14–
   9   16—might support their allegation that the Plan’s recordkeeping fees were “roughly”
 10    $140 per participant over the relevant period.
 11          Second, Plaintiffs argue that “millions and millions of dollars” in additional
 12    recordkeeping fees may have flowed to Capital Research from subtransfer agency
 13    arrangements, selling group agreements, and fund distribution agreements. Opp’n at
 14    4–5. They fundamentally misread the recordkeeping agreement on that score. As
 15    the plain terms of the contract make clear, subtransfer agency arrangements, selling
 16    group agreements, and fund distribution agreements govern the “Fund Revenue” that
 17    is provided by certain investment options in the Plan lineup (as was described in
 18    Trader Joe’s motion). Vergara Decl., Ex. 1 at 7. It is that “Fund Revenue” that is
 19    used, in part, to pay Capital Research’s recordkeeping fee (as also explained in the
 20    motion). Id.; see also Mot. at 2, 6–7. Capital Research retains only those amounts
 21    necessary to offset its negotiated fees for recordkeeping services and returns the
 22    remainder to the Plan. 2 Vergara Decl., Ex. 1 at 7. There are no “millions and
 23
 24
       2
         Specifically, as explained in the agreement, the “Service Provider” (i.e., Capital
       Research) applies the fund Revenue to its “recordkeeping and administrative
 25    services fees,” but “does not retain any Fund Revenue as compensation, except to
 26    offset the Service Provider’s recordkeeping and administrative services fees.”
       Vergara Decl., Ex. 1 at 7. Any Fund Revenue remaining after the payment of the
 27    Service Provider’s “recordkeeping and administrative services fees” is “deposited
 28    to an unallocated Plan account”—in other words, returned to the Plan. Id.
                                                                                       REPLY ISO
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   1   millions of dollars” in additional recordkeeping fees to Capital Research hidden in
   2   the referenced agreements, in other words.
   3         Finally, Plaintiffs argue that Capital Research might receive additional “Fund
   4   Revenue” under the terms pertaining to the Plan’s “Financial Professionals.” Opp’n
   5   at 5. That cannot be true. Capital Research is the “Service Provider” under the
   6   agreement. Vergara Decl. Ex. 1 at 6. “Financial Professionals,” in contrast, are
   7   defined in the agreement as “the broker-dealer firm, the person acting as a registered
   8   representative on behalf of the broker-dealer firm, or the Registered Investment
   9   Advisor, if any, hired by the Employer or Plan.” Id. Elsewhere, the agreement makes
  10   clear that the “Service Provider” (i.e., Capital Research) and the Plan’s “Financial
  11   Professionals” are distinct. For example, it states, “[t]he Service Provider [i.e.,
  12   Capital Research] provides recordkeeping services to the Plan pursuant to this
  13   Agreement. Other service providers, including Financial Professionals, provide
  14   additional services to the Plan.” Vergara Decl. Ex. 1 at 10 (emphasis added). It also
  15   provides that “the Service Provider [i.e., Capital Research] will not be responsible or
  16   liable for the performance of such services provided by the Financial Professional or
  17   its affiliates or subcontractors.” Id. Plaintiffs appear not to understand the difference
  18   between the investment management fees that are paid to “Financial Professionals”
  19   under the agreement for their management of funds in the Plan lineup, on the one
  20   hand, and recordkeeping fees, on the other—but this lawsuit has nothing to do with
  21   investment management fees, and any such fees paid to “Financial Professionals” are
  22   thus irrelevant. They have nothing to do with Capital Research’s recordkeeping fees.
  23
                    4.     Plaintiffs’ Reference to Indirect Compensation Does Not
  24                       Save Their Claim
  25         Plaintiffs also speculate that Capital Research must have received “millions in
  26   indirect compensation”—presumably in addition to their supposed “millions and
  27   millions” in fees under the recordkeeping contract. Opp’n at 5–6. Although the
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   1   Plan’s judicially noticeable Form 5500s state that Capital Research received exactly
   2   $0 in indirect compensation for its recordkeeping services, 3 Plaintiffs surmise that
   3   Trader Joe’s must have falsified the forms, or that Capital Research must have
   4   concealed the actual amount of its fees from its client because it knows the fees are
   5   excessive. Opp’n at 5–6.
   6         This wild theory is insufficient to defeat Trader Joe’s motion. As explained in
   7   the motion and repeated above, Capital Research received “Fund Revenue” (i.e.,
   8   indirect compensation) from certain funds in the Plan lineup—but, with respect to its
   9   recordkeeping services, retained only those amounts equivalent to its direct
  10   compensation under the recordkeeping contract and returned the remainder to the
  11   Plan. See supra at 5–6 & n.2; Mot. at 2, 6–7; Vergara Decl., Ex. 1 at 7. Plaintiffs
  12   suggest that the Plan’s Form 5500s fail to disclose Capital Research’s total
  13   compensation, Opp’n at 6—but here, too, they are misreading the document. Part I,
  14   Section 1 of Schedule C lists the service providers, including Capital Research (and
  15   Invesco Funds, for one year), that receive eligible indirect compensation for
  16   managing funds in the Plan lineup. See, e.g., Vergara Decl. Ex. 7 at 200 (2018 Form
  17   5500). Part I, Section 2 lists other service providers; here, Capital Research is listed
  18   for its role as the Plan’s recordkeeper, and the Form 5500s correctly note that Capital
  19   Research retained zero dollars in indirect compensation for recordkeeping fees
  20   beyond its contractual fees. See supra n.3. There is nothing inconsistent with
  21   reporting on the Form 5500s that Capital Research received indirect compensation
  22   for investment management in Part 1 and retained no indirect compensation for
  23   recordkeeping services in Part 2—and there is certainly nothing to support Plaintiffs’
  24   fabrication of millions of dollars in additional, concealed recordkeeping fees.
  25
  26   3
        Vergara Decl. Ex. 2 at 17, Docket No. 17-3 (2013); Ex. 3 at 57, Docket No. 17-4
  27   (2014); Ex. 4 at 92, Docket No. 17-5 (2015); Ex. 5 at 131, Docket No. 17-6 (2016);
  28   Ex. 6 at 167, Docket No. 17-7 (2017); Ex. 7 at 202, Docket No. 17-8 (2018).
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   1         B.     Each of Plaintiffs’ Imprudence Theories Fails As a Matter of Law 4
   2                1.    Any Alleged Failure to Put the Recordkeeping Arrangement
   3                      Out to Bid Is Insufficient to Support an Imprudence Claim

   4         Any alleged failure to solicit competitive bids cannot sustain Plaintiffs’
   5   imprudence claim without a credible allegation that the recordkeeping fees were
   6   actually unreasonable, notwithstanding Plaintiffs’ argument to the contrary. And
   7   even if Plaintiffs had sufficiently alleged that the recordkeeping fees were
   8   unreasonable, Plaintiffs’ failure to allege that other recordkeepers could have
   9   provided the same services as Capital Research at a lower cost would still doom their
  10   theory.
  11         The sole case Plaintiffs cite in their favor, George v. Kraft Foods Global, Inc.,
  12   641 F.3d 786 (7th Cir. 2011), is distinguishable. The George court held, at the
  13   summary judgment stage, that there were material issues of disputed fact regarding
  14   whether the defendant’s failure to solicit competitive bids for administrative services
  15   was imprudent where: (1) plaintiffs presented concrete evidence about the objective
  16   level of fees and why they were unreasonable; and (2) the plan fiduciaries had not
  17   renegotiated their recordkeeping arrangement for more than fifteen years. George,
  18   641 F.3d at 798–99. Neither of those factors is present here. Plaintiffs have alleged
  19   no credible facts regarding the alleged unreasonableness of Capital Research’s fees
  20   and no facts at all regarding whether Trader Joe’s could have obtained less-expensive
  21   recordkeeping services of the same type and caliber on the market.
  22         This case more closely resembles Young v. GM Inv. Mgmt. Corp. and the other
  23   cases cited in Trader Joe’s motion. Mot. at 10–11. In Young, the court held that the
  24   plaintiffs did not plausibly allege excessive fees where they “fail[ed] to allege that
  25   the fees were excessive relative to the services rendered.” 325 F. App’x 31, 33
  26   4
        Plaintiffs have confirmed that they do not allege that revenue sharing
  27   arrangements are per se imprudent. Opp’n at 12–13. For that reason, Trader Joe’s
  28   does not address the argument further in this brief.
                                                                                     REPLY ISO
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   1   (2d Cir. 2009) (Sotomayor, J.) (internal quotations and citation omitted). And in
   2   White, the court explained that “nothing in ERISA compels periodic competitive
   3   bidding.” White v. Chevron Corp., No. 16-CV-0793-PJH, 2016 WL 4502808, at *14
   4   (N.D. Cal. Aug. 29, 2016) (“Chevron I”) (dismissing duty of prudence claim despite
   5   similar competitive bidding allegations); see also Del Castillo v. Cmty. Child Care
   6   Council of Santa Clara Cty., Inc., No. 17-cv-07243-BLF, 2019 WL 6841222, at *5
   7   (N.D. Cal. Dec. 16, 2019) (same). Plaintiffs argue that these cases are distinguishable
   8   because their Complaint alleges more than a failure to solicit competitive bidding,
   9   but they are mistaken, for the reasons explained at length above.
  10
                    2.     Plaintiffs’ Share-Class Allegations Remain Insufficient to
  11                       Support a Claim of Imprudence
  12         Nor does Plaintiffs’ opposition save their inadequately pleaded share-class
  13   theory. The Complaint does not mention which specific funds should have been
  14   offered as institutional classes, and Plaintiffs’ opposition is not the proper vehicle to
  15   correct that flaw. Schneider, 151 F.3d at 1197 n.1. Moreover, Plaintiffs fail to
  16   recognize that there are numerous reasons for a plan to offer retail share classes,
  17   including when the expense ratios of such classes are used to offset Plan fees and
  18   then refunded to the Plan, as is the case here.
  19         The Court should refrain from considering the opposition’s arguments (and
  20   accompanying table) addressing specific funds, because the Complaint does not
  21   contain those allegations. Opp’n at 16–21; see generally Compl. Instead, the
  22   Complaint simply mentions “American Funds.” See, e.g., Compl. ¶ 35. Using the
  23   phrase “American Funds” does not give Trader Joe’s notice of which fund should
  24   have been offered as institutional shares. It is not enough that the Complaint includes
  25   high-level allegations about how share classes generally work. Opp’n at 17 (citing
  26   Complaint for generic allegations). Similarly, the Court should disregard the bald
  27   assertions in the opposition that “[r]etail share classes of the American Funds, with
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                                                                                      REPLY ISO
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   1   few exceptions, underperform their industry benchmarks and similar investments
   2   offered by other mutual fund companies” and that Trader Joe’s choosing American
   3   Funds is evidence of imprudence given Capital Research’s affiliation with the funds.
   4   Id. at 19. Plaintiffs cite no allegations in the Complaint for those positions, and the
   5   Court should disregard Plaintiffs’ attempt to transform the opposition into an
   6   amended complaint. 5 Schneider, 151 F.3d at 1197 n.1.
   7         Even if the Court considers allegations made for the first time in the
   8   opposition, none of Plaintiffs’ arguments changes the fundamental fact that “ample
   9   authority holds that merely alleging that a plan offered retail rather than institutional
  10   share classes is insufficient to carry a claim for fiduciary breach.” Chevron II, 2017
  11   WL 2352137, at *14. Again, Plaintiffs seem to ignore that several courts, including
  12   the Ninth Circuit, have specifically “rejected the argument that a fiduciary should
  13   have offered only wholesale or institutional funds.” Tibble v. Edison Int’l, 729 F.3d
  14   1110, 1135 (9th Cir. 2013) (“Tibble I”) (internal quotations omitted and citation
  15   omitted); see also Loomis v. Exelon Corp., 658 F.3d 667, 669–70 (7th Cir. 2011)
  16   (granting motion to dismiss claim that fiduciaries should have offered institutional
  17   funds); Hecker v. Deere & Co., 556 F.3d 575, 586 (7th Cir. 2009) (same); Renfro v.
  18   Unisys Corp., 671 F.3d 314, 326–28 (3d Cir. 2011). As the Seventh Circuit noted in
  19   Hecker, “the cheapest possible fund” also “might, of course, be plagued by other
  20   problems.” 556 F.3d at 586; see also Loomis, 658 F.3d at 670 (same); Tibble I, 729
  21   F.3d at 1135 (same). Some of these decisions may be limited to their facts, but the
  22   allegations here lend themselves to the same conclusion: there is no credible issue
  23   with Trader Joe’s offering retail share classes for certain funds.
  24         Though Plaintiffs assert otherwise, their attack on retail share classes is
  25   categorical—and therefore inappropriate—given that the Complaint’s share-class
  26
  27   5
        In any case, Plaintiffs concede that there is “no per se bar on related entities
  28   providing an array of services to a plan.” Opp’n at 19.
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   1   allegations address no particular fund. Plaintiffs cite to Tibble I and Tibble II, but
   2   those cases do not support Plaintiffs’ overly broad attack on retail share classes here.
   3   The Tibble I court explicitly rejected the argument that selecting retail share classes
   4   is categorically imprudent, and even Plaintiffs recognize that holding. Opp’n at 21
   5   (citing Tibble I, 729 F.3d at 1134–35). This case also differs from Braden v. Wal-
   6   Mart Stores, Inc., 588 F.3d 585, 595–96 (8th Cir. 2009), where the plan did not
   7   change the particular funds despite underperformance, and where the complaint had
   8   alleged that the selection of certain funds was not made in exchange for services
   9   rendered, but rather was a quid pro quo for inclusion in the Plan. Id. at 596. Those
  10   facts are not alleged here. Plaintiffs’ broad attack also contrasts with holdings in
  11   cases like Renfro—where, like here, the plaintiffs did not “challenge the prudence of
  12   the inclusion of any particular investment option.”        Renfro, 671 F.3d at 326.
  13   Consistent with those courts’ analysis, the Court should reject Plaintiffs’ share-class
  14   theory of imprudence here.
  15                3.     Plaintiffs Have No Support for Their Novel Theory That
                           Capital Research’s Collecting and Returning of Fund
  16                       Revenue Was Imprudent
  17         The opposition repeats Plaintiffs’ gripe that Capital Research collected Fund
  18   Revenue, retained the amounts corresponding to its negotiated recordkeeping fee,
  19   and returned the remaining Fund Revenue to the Plan. Opp’n at 22–23; Compl.
  20   ¶¶ 48–50. But Plaintiffs fail to cite any case, statute, or regulation precluding this
  21   type of arrangement. Opp’n at 22–23. The theory thus cannot support Plaintiffs’
  22   imprudence claim.
  23         C.     Plaintiffs Concede that the Failure-to-Monitor Claim Is Derivative
  24         Plaintiffs’ second claim for relief cannot survive because it is derivative of
  25   Plaintiffs’ imprudence claim, which fails for the reasons stated above and in Trader
  26   Joe’s motion. Plaintiffs concede that their failure-to-monitor claim hinges on their
  27   imprudence claim. Opp’n at 23. The failure-to-monitor claim thus must be dismissed
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   1   as well. See, e.g., Dorman v. Charles Schwab Corp., No. 17-cv-00285-CW, 2018
   2   WL 6803738, at *7 (N.D. Cal. Sept. 20, 2018).
   3          D.    Plaintiffs Cannot Pursue Injunctive Relief
   4          Plaintiffs’ opposition does not address whether Plaintiffs lack standing to
   5   pursue injunctive relief. Instead, Plaintiffs disagree with Trader Joe’s procedural
   6   posture in arguing that injunctive relief is unavailable. Opp’n at 23–25. Whatever
   7   the procedural mechanism, the Court should disallow Plaintiffs’ request for such
   8   relief, given their status as former Plan participants who may not pursue injunctive
   9   remedies. Mot. at 15–17; see Lewis v. Wendy’s Int’l, Inc., No. 09-07193 MMM
  10   (JCx), 2009 WL 10672265, at *7 n.45 (C.D. Cal. Dec. 29, 2009) (striking plaintiff’s
  11   request for injunctive relief due to lack of standing); Impress Commc’ns v.
  12   Unumprovident Corp., 335 F. Supp. 2d 1053, 1060 (C.D. Cal. 2003) (granting motion
  13   to dismiss injunctive relief requested in prayer for relief).
  14   III.   CONCLUSION
  15          For the reasons stated above and in Trader Joe’s underlying motion, Trader
  16   Joe’s respectfully requests that the Court dismiss Plaintiffs’ Complaint in its entirety
  17   with prejudice.
  18
  19
  20          Dated: April 13, 2020                 By:      /s/ Catalina Vergara
                                                             Catalina Vergara
  21
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